Case 2:06-cr-00097-LRS   ECF No. 94   filed 05/03/07   PageID.286 Page 1 of 6
Case 2:06-cr-00097-LRS   ECF No. 94   filed 05/03/07   PageID.287 Page 2 of 6
Case 2:06-cr-00097-LRS   ECF No. 94   filed 05/03/07   PageID.288 Page 3 of 6
Case 2:06-cr-00097-LRS   ECF No. 94   filed 05/03/07   PageID.289 Page 4 of 6
Case 2:06-cr-00097-LRS   ECF No. 94   filed 05/03/07   PageID.290 Page 5 of 6
Case 2:06-cr-00097-LRS   ECF No. 94   filed 05/03/07   PageID.291 Page 6 of 6
